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                     Exhibit A
6/13/23, 10:42 AM   Case 1:22-cv-11421-ADB Document 127-2 Record
                                                  WebVoyage FiledView
                                                                  06/14/23
                                                                      1    Page 2 of 2




                              Try the Copyright Public Records System (CPRS) pilot with enhanced
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  Public Catalog
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  Search Request: Left Anchored Copyright Number = PA0002398490
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                                                      My Wrongful Arrest.

                Type of Work: Motion Picture
  Registration Number / Date: PA0002398490 / 2023-02-02
             Application Title: untitled.
                         Title: My Wrongful Arrest.
                   Description: Electronic file (eService)
         Copyright Claimant: Jose DeCastro. Address: 1258 Franklin St., Santa Monica, CA, 90404, United States.
             Date of Creation: 2015
          Date of Publication: 2022-12-19
   Nation of First Publication: United States
   Authorship on Application: Jose DeCastro; Citizenship: United States. Authorship: entire motion picture.
      Rights and Permissions: Jose DeCastro, chille@situationcreator.com
                          Names: DeCastro, Jose




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                        Select Download Format Full Record              Format for Print/Save

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